         Case 1:19-cv-01471-ABJ Document 13-1 Filed 06/06/19 Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 MALLINCKRODT ARD LLC.,


                   Plaintiffs,

        v.
                                                  Civil Docket No. 1:19-cv-1471-ABJ
 SEEMA VERMA, in her official capacity as
 ADMINISTRATOR, CENTERS FOR
 MEDICARE & MEDICAID SERVICES, and
 ALEX M. AZAR II, in his official capacity as
 SECRETARY, UNITED STATES
 DEPARTMENT OF HEALTH AND HUMAN
 SERVICES,


                   Defendants.


                                       [PROPOSED] ORDER


       Upon consideration of Defendants’ Urgent Motion to Extend Schedule, and for good cause

shown, it is hereby ORDERED that Defendants’ motion is GRANTED. The following deadlines

shall apply:

               a. June 28, 2019: Defendants transmit the Administrative Record;

               b. July 5, 2019: Defendants file an opposition to Plaintiff’s motion for a

                  preliminary injunction combined with their cross-motion for summary

                  judgment;

               c. July 15, 2019: Plaintiff files an opposition to Defendants’ cross-motion for

                  summary judgment combined with its reply in support of its preliminary

                  injunction;




                                              1
         Case 1:19-cv-01471-ABJ Document 13-1 Filed 06/06/19 Page 2 of 3



              d.   July 24, 2019: Defendants file a reply in support of their cross-motion for

                   summary judgment.

        The Court will hold oral argument on the above-referenced motions on ______________,

2019.



SO ORDERED.


________________________                          ______________________________
Date                                              AMY BERMAN JACKSON
                                                  United States District Judge




                                              2
        Case 1:19-cv-01471-ABJ Document 13-1 Filed 06/06/19 Page 3 of 3



NAMES OF PERSONS TO BE SERVED WITH PROPOSED ORDER

        Pursuant to LCvR 7(k), the following attorneys are entitled to be notified of the entry of
the foregoing:

Catherine Emily Stetson
Hogan Lovells US LLP
555 Thirteenth Street, NW
Washington, DC 20004
phone: (202) 637-5491
fax: (202) 637-5910
email: Cate.Stetson@hoganlovells.com

Kyle Mitchell Druding
Hogan Lovells US LLP
555 Thirteenth Street, NW
Washington, DC 20004
phone: (202) 637-6842
fax: (202) 637-5910
email: Kyle.Druding@hoganlovells.com

Susan Margaret COok
Hogan Lovells US LLP
555 Thirteenth Street, NW
Washington, DC 20004
phone: (202) 637-686684
fax: (202) 637-5910
email: Susan.Cook@hoganlovells.com

Kevin Snell
Federal Programs Branch, Civil Division, U.S. Department of Justice
1100 L Street, NW
Washington DC 20530
phone: (202) 305-0924
fax: (202) 616-8460
email: Kevin.Snell@usdoj.gov




                                                3
